Case: 4:25-cv-00017-SEP    Doc. #: 34      Filed: 05/29/25   Page: 1 of 3 PageID #: 262




                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

ANN ALTMAN,                                  )
                                             )
                  Plaintiff/                 )
                  Counterclaim-Defendant     )
                                             )
      v.                                     )     Case No.: 4:25-cv-00017-SEP
                                             )
SAMUEL ALTMAN,                               )
                                             )
                  Defendant/
                  Counterclaim-Plaintiff

DEFENDANT’S RESPONSE TO IMPROPER SUR-REPLY OPPOSING DEFENDANT’S
   MOTION TO DISMISS OR STRIKE PLAINTIFF’S PRAYER FOR PUNITIVE
                            DAMAGES
Case: 4:25-cv-00017-SEP         Doc. #: 34      Filed: 05/29/25      Page: 2 of 3 PageID #: 263




       Plaintiff sought and obtained leave “to file a short sur-reply for the limited purpose of

addressing” a single argument that she contended was raised for the first time on reply in support

of Mr. Altman’s motion to dismiss or strike punitive damages. ECF No. 31 ¶¶ 4, 6. Plaintiff’s

subsequently filed sur-reply exceeded this scope, introducing new arguments that are directly

responsive to points Mr. Altman made in his opening memorandum and which Plaintiff could

have made in her opposition. See, e.g., ECF No. 33 at 2-3 (attempting to distinguish Advanced

Physical Therapy, LLC v. Apex Physical Therapy, LLC, No. 6:20-CV-03043-RK, 2022 WL

303345 (W.D. Mo. Feb. 1, 2022)). Had Plaintiff timely raised these arguments in her opposition,

Mr. Altman would have had the opportunity to respond and assist the Court in evaluating them.

The Court should therefore not consider those portions of the sur-reply. See, e.g., Hogan

Logistics, Inc. v. Davis Transfer Co., Inc., 2018 WL 341733, at *6 n.3 (E.D. Mo. Jan. 9, 2018)

(declining to consider sur-reply contentions that “reopen[] argument on previously briefed

issues” rather than “respond to any new argument raised by Davis in its reply”); accord United

States v. Boston Scientific Corp., 2021 WL 3604848, at *9 n.2 (D. Minn. Aug. 13, 2021). If the

Court believes that a response from Mr. Altman would assist in evaluating his motion, Mr.

Altman would be glad to provide a short responsive submission addressing the meritless

arguments Plaintiff improperly raised in her sur-reply.


DATED: May 29, 2025                          HEPLERBROOM LLC
                                             By:     /s/ Thomas J. Magee
                                                     Thomas J. Magee No. 32871
                                                     701 Market St., Suite 1400
                                                     St. Louis, MO 63101
                                                     314-241-6160
                                                     314-241-6116 Fax
                                                     tmagee@heplerbroom.com

                                                     Attorneys for Defendant




                                                 1
Case: 4:25-cv-00017-SEP        Doc. #: 34      Filed: 05/29/25     Page: 3 of 3 PageID #: 264




                                            MUNGER, TOLLES & OLSON LLP

                                            By:     /s/ Jonathan I. Kravis
                                                    Jonathan I. Kavis (pro hac vice)
                                                    Xiaonan April Hu (pro hac vice)
                                                    601 Massachusetts Ave. NW, Suite 500E
                                                    Washington, D.C. 20001-5369
                                                    202-220-1100
                                                    202-220-2300 Fax

                                                    Hailyn J. Chen (pro hac vice)
                                                    Cordell A. Brown (pro hac vice)
                                                    350 South Grand Ave., 50th Floor
                                                    Los Angeles, CA 90071-3426
                                                    213-683-9100
                                                    213-687-3702 Fax

                                                    Dane P. Shikman (pro hac vice)
                                                    560 Mission St., 27th Floor
                                                    San Francisco, CA 94105
                                                    415-512-4000
                                                    415-512-4077 Fax

                                                    Attorneys for Defendant

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 29, 2025, the foregoing was filed
electronically with the Clerk of Court, therefore to be served electronically by operation of the
Court’s electronic filing system upon all counsel of record.

                                                    /s/ Dane P. Shikman




                                               2
